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                   EXHIBIT A
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From:                  LetterStream.com
To:                    Thomas Chung
Subject:               Order Confirmation - ADA 12122024
Date:                  Thursday, December 12, 2024 2:18:23 PM




     ORDER CONFIRMATION - ADA 12122024
     Thank you for using LetterStream! This mailing has entered our production
     queue, we'll begin to work on it shortly.

              Job Name: ADA 12122024

              Job ID: 10754745

              Mailing Method: First-Class Certified Mail

              Recipients: 1

     What's Next?

     Your important documents are in the hands of our printing and mailing experts,
     so all you need to do is sit back and relax!

     This mailing has been locked and can no longer be modified, so if you believe
     this mailing needs to be cancelled you might still be able to stop it from being
     mailed. Click here to learn more about cancelling approved jobs. Fees may
     apply.

     You can check the status of your job anytime within your LetterStream
     account. Click here to learn more about job statuses.

     We will send you another email once we've completed our side of the process
     and have handed your mail over for delivery.

     Once again, thank you for your order!

     Your LetterStream Support Team
     lsoc email v1.1
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